               Case 2:09-cr-00094-MCE Document 58 Filed 04/28/10 Page 1 of 3


 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   LAUREN CUSICK, Bar #257570
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     JOSE SANCHEZ-PALOMINO
 7
 8
 9                         IN THE UNITED STATES DISTRICT COURT
10                       FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,           )   No. CR-S-09-0094 MCE
12                                       )
                      Plaintiff,         )   STIPULATION AND ORDER TO MODIFY
13                                       )   BRIEFING SCHEDULE
          v.                             )
14                                       )   Date: May 27, 2010
     JOSE SANCHEZ-PALOMINO,              )   Time: 9:00 a.m.
15   FRANCISCO VELASCO,                  )   Judge: Hon. Morrison C. England
                                         )
16                    Defendants.        )
                                         )
17   _____________________________
18
          It is hereby stipulated between the parties, Lauren Cusick,
19
     Assistant Federal Defender, for Defendant Jose Sanchez-Palomino, and
20
     Daniel Bacon, Attorney for Defendant Francisco Velasco, and Todd Leras,
21
     Assistant United States Attorney, counsel for the Plaintiff, that the
22
     briefing schedule modifying the motions to be as follows and the Motion
23
     Hearing set for May 27, 2010 to remain the same.          The following is the
24
     new schedule:
25
          Defense Motion due        . . . . . . . . . . . . . . . .       April 29, 2010
26
          Government’s Opposition due        . . . . . . . . . . . . .         May 20, 2010
27
          Defense Reply due     . . . . . . . . . . . . . . . . . .            May 24, 2010
28
             Case 2:09-cr-00094-MCE Document 58 Filed 04/28/10 Page 2 of 3


 1        Evidentiary Hearing   . . . . . . . . . . . . . . . . .            May 27, 2010
 2         The parties agree that time should be excluded from the date of
 3   this order until the Evidentiary Hearing set for May 27, 2010, pursuant
 4   to 18 U.S.C. § 3161(h)(7)(A)and(B)(iv) and Local Code T4 (reasonable time

 5   to prepare).

 6    Dated: April 21, 2010

 7                                         Respectfully submitted,

 8
                                           DANIEL BRODERICK
 9                                         Federal Defender

10
                                           /s/ Lauren Cusick
11                                         LAUREN CUSICK
                                           Assistant Federal Defender
12                                         Attorney for Jose Sanchez-Palomino

13
14                                         /s/ Daniel Bacon
                                           DANIEL BACON
15                                         Attorney for Francisco Velasco

16
17                                         BENJAMIN WAGNER
                                           United States Attorney
18
19
     Dated: April 21, 2010                 /s/ Lauren Cusick for
20                                         TODD LERAS
                                           Assistant U.S. Attorney
21                                         per telephonic authorization

22
23                                        ORDER

24   IT IS SO ORDERED.

25   Dated: April 27, 2010
26
27                                        _____________________________
                                          MORRISON C. ENGLAND, JR.
28                                        UNITED STATES DISTRICT JUDGE

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